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 7
                                 UNITED STATES DISTRICT COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
10     DAVID WEISMAN, an individual,              )   CASE NO. CV-11-6033-GW (JCx)
                                                  )
11                 Plaintiff,                     )
                                                  )   Hon. George H. Wu
12     v.                                         )
                                                  )
13     MICHAEL POST, an individual, and           )
       DOES 1-10,                                 )   PLAINTIFF DAVID WEISMAN’S
14                                                )   MEDIATION BRIEF
                   Defendant.                     )
15                                                )   Mediator: Hon. Margaret A. Nagle
                                                  )   Location: USDC Temple St., Rm. 580
16                                                )   Date:     June 20, 2013
                                                  )   Time:     10:00 am
17                                                )
       MICHAEL POST, an individual                )
18                                                )
                   Counterclaimant,               )
19                                                )
20     v.                                         )
                                                  )
21     DAVID WEISMAN, an individual,              )
                                                  )
22                 Counter-defendant.             )
                                                  )
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 1                                         MEDIATION BRIEF
 2
 3                                        I.    INTRODUCTION
 4          This case concerns a dispute between filmmaker Plaintiff David Weisman
 5    (“Weisman”) and Sedgwick’s widower Defendant Michael Post (“Post”) over the
 6    ownership of Edith Sedgwick’s (“Sedgwick”) publicity rights. Through her contract on the
 7    film Ciao! Manhattan (the “Contract”), Sedgwick assigned all publicity rights to Weisman
 8    in connection with the film. Before the film was completed and released, Sedgwick died.
 9    Post has testified repeatedly that, at the time of her death, Sedgwick’s only commercial
10    value was derived from Ciao! Manhattan. Given this statement, the Contract, and the
11    provisions of California Civil Code §3344.1, Sedgwick effectively passed ALL publicity
12    rights to Weisman, who has subsequently developed and promoted the Sedgwick brand
13    with great vigor. Despite Weisman’s ownership of such rights, Post has unlawfully
14    licensed Sedgwick’s image to third parties for profit.
15
16                                  II.        STATEMENT OF FACTS
17          David Weisman is a filmmaker, author, and graphic artist best known as the sole
18    producer of the Oscar winning film “Kiss of the Spider Woman.” (Ex. A) Weisman began
19    his filmmaking career with Ciao! Manhattan, a semi-autobiographical film based on the
20    life of actress and model, Edith Sedgwick, in which Sedgwick plays herself. (Id. at Ex. A,
21    Ex. B, p. 60:1-25, p. 61:1-21). In December 1970, Weisman and Sedgwick entered a
22    contract in which Sedgwick granted “[Weisman] all rights, worldwide, in perpetuity, in all
23    media and in all means whether presently known or unknown, to the results of proceeds of
24    ARTIST’S [Sedgwick’s] services, and grants [Weisman] the right to utilize ARTIST’S
25    [Sedgwick’s] name, likeness, and biography in connection with advertising or publicizing
26    the motion picture ‘CIAO! MANHATTAN.’” (Ex. E, p. 1, ¶ 3).
27          In 1969, Michael Post met Sedgwick in a mental health facility in Santa Barbara.
28    They married on July 24, 1971. (Ex. C, p. 10:7-25, p. 11:1-3). Three months later, on the

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 1    night of Sedgwick’s death, Sedgwick told Post that she wanted to end their marriage,
 2    mentioning another man. That night, Post administered Sedgwick’s medications and, in
 3    the morning, Sedgwick died intestate. (Ex. F, p. 1247:17-25, p. 1248:1-3, Ex. L, p. 4:24-
 4    25).
 5           In July 1972, Ciao! Manhattan had its world wide premiere in Amsterdam. (Ex. H).
 6    Sedgwick’s life story is an integral part of Ciao! Manhattan’s visualization, theme,
 7    storyline, and dialogue. Many of Sedgwick’s life events were depicted in Ciao!
 8    Manhattan, including all of those events that potentially had commercial value. (Ex. B, p.
 9    60:1-25, p. 61:1-21). Weisman, as author, producer, and creator of Ciao! Manhattan owns
10    all copyrightable material arising from and associated with the film. (Ex. I). Weisman
11    registered Ciao! Manhattan with the U.S. Copyright Office on October 26, 1983. (Id. at
12    Ex. I). In 2006, Weisman authored and became the sole and exclusive owner to the
13    copyrights of the book Edie: Girl on Fire which depicts Sedgwick’s life through images
14    from Ciao! Manhattan, and other pre-Ciao! Manhattan images of Sedgwick for which
15    Weisman obtained licenses. (Ex. S).
16           The entirety of Sedgwick’s verifiable commercial value in her name, likeness and
17    biography at the time of her death arose from Sedgwick’s participation in and connection
18    with Weisman’s Ciao! Manhattan film. (Ex. J, p. 13:1-15:7, Ex. K, p. 1185:10-1186:11).
19    For thirty-nine years, Weisman developed and promoted the Sedgwick brand without
20    interruption or protest from anyone, including Post. (Ex. U, p. 98:20-24, p. 1194:1-17).
21           The probate order disposing of Sedgwick’s estate only devised $3,807.73 and sixty-
22    five shares of capital stock of Western Independent Corporation to Post and conspicuously
23    lacked mention of any intellectual property that existed as part of Sedgwick’s estate at the
24    time of her death. (Ex. M). At no time did Post attempt to re-open probate to include
25    publicity rights or intellectual property. (Ex. N, p. 16:10-18:13, p. 21:19-23, p. 40:5-44:6,
26    Ex. O, p. 1197:24-1198:6). Post had knowledge of Weisman’s claim of ownership over
27    Sedgwick’s right of publicity and copyright in the Ciao! Manhattan film and Sedgwick
28    images, and of the existence of the Contract that granted those rights to Weisman.

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 1    Nevertheless, Post filed a 100% successor-in-interest claim to “all types of rights”
 2    pertaining to Sedgwick in 1988. (Id. at Ex. O, p. 1197:24-1198:6, Ex. P, p. 40:13-42:4,
 3    44:21-45:5, Ex. Q, p. 1195:5-13, Ex. R).
 4          Then, beginning in 2006, Post licensed images of Sedgwick to many third party
 5    licensors in exchange for fees in excess of $88,584, not including fees received in the years
 6    2011 and 2012. (Ex. T, p. 17, p.35:25-39:22). Post at no time sought Weisman’s consent.
 7    (Ex. O, p. 1197:13-16). Even when faced with uncontestable proof of Weisman’s valid
 8    copyright in Ciao! Manhattan, Post still ludicrously insists that Weisman must seek Post’s
 9    consent prior to exercising his copyright with regard to images directly from the film. (Ex.
10    W, p. 29:12-30:1, p. 55:22-57:19).
11
12                                III.   PROCEDURAL POSTURE
13          Weisman filed the operative complaint (the “Complaint”) on July 21, 2011. (Ex. D).
14    The Complaint alleges causes of actions for copyright infringement, contributory
15    infringement, violation of Right of Publicity pursuant to Cal. Civ. Code §3344.1 and
16    declaratory judgment. (Id. at Ex. D, p. 4:23-6:22). The Complaint seeks both damages and
17    declaratory relief. (Id. at Ex. D, p. 7:4-19). Post filed an answer and a counterclaim on
18    October 12, 2011. (Ex. G). Weisman filed an answer to Post’s counterclaim on November
19    7, 2011. (Ex. V). Weisman then filed a motion for summary judgment or in the
20    alternative, summary adjudication, on April 8, 2013. (Ex. X). A hearing on the motion
21    for summary judgment is presently set for July 18, 2013. In the meantime, parties have
22    engaged in extensive discovery.
23
24                                         IV.   ARGUMENT
25
26          A.     Sedgwick Assigned Weisman a Broad Right of Publicity in Her Name,
27                 Likeness, and Biography, “Worldwide,” “In Perpetuity,” and in
28                 Connection with the Film Ciao! Manhattan!

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 1          “Federal diversity jurisdiction provides an alternative forum for the adjudication of
 2    state created rights, but it does not carry with it generation of rules of substantive law.”
 3    Gasperini v. Center for Humanities, Inc., 518 U.S. 415, 426 (1996). Thus, “[u]nder the
 4    Erie doctrine, federal courts sitting in diversity apply state substantive law and federal
 5    procedural law.” Id. at 427. Under California law, contract interpretation is a judicial
 6    function. Nesson v. N. Inyo County Local Hosp. Dist., 138 Cal. Rptr. 3d 446, 463 (2012).
 7    Where the language of the contract is clear, explicit, and not absurd, it will be followed.
 8    Cal. Civ. Code § 1638. “When a contract is reduced to writing, the intention of the parties
 9    to is to be ascertained from the writing alone, if possible.” Cal. Civ. Code § 1639. Any
10    ambiguity may be resolved by the trial court if there is no extrinsic evidence admitted to
11    interpret the contract or if the extrinsic evidence is not in conflict. Wolf v. Superior Ct., 8
12    Cal. Rptr. 3d 649, 656 (2004).
13          In December 1970, Sedgwick assigned a broad grant of publicity to Weisman via
14    contract. (Ex. E, p. 1, ¶ 3). In California, the right of publicity is freely transferable by
15    contract or assignment. Cal. Civ. Code § 3344.1. The plain language of the Contract is
16    ascertainable from the writing itself and does not contain any ambiguities which require
17    resolution by the court. The Contract assigns Weisman, “all rights, worldwide, in
18    perpetuity, in all media and in all means whether presently known or unknown, to the
19    results and proceeds of ARTIST’S services” as well as an assignment of Sedgwick’s
20    publicity rights for Weisman’s exploitation in connection with Ciao! Manhattan. (Ex. A).
21          Further, Post testified that Sedgwick’s only commercial value at the time of her
22    death was connected with Weisman’s film Ciao! Manhattan. (Ex. J, p. 13:1-15:7, Ex. K,
23    p. 1185:10-1186:11). Any increase in Sedgwick’s commercial value after her death is
24    directly attributable to the film Ciao! Manhattan and Weisman’s continued efforts to
25    develop the Sedgwick brand arising from the film. (Ex. U, p. 98:20-24, p. 1194:1-17).
26    Thus, the Contract assigned Weisman the complete and exclusive right to benefit, in any
27    form, from commercial use of Sedgwick’s name, likeness, and biography. The Contract’s
28    clear language dispels any notion that anyone other than Weisman is the owner of

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 1    Sedgwick’s publicity rights.
 2          California law permits consideration of parol evidence “to explain the meaning of
 3    the terms of a contract even when the meaning appears unambiguous.” Foad Consulting
 4    Grp., Inc. v. Azalino, 270 F.3d 821, 826 (9th Cir. 2001). Extrinsic evidence that is often
 5    considered includes testimony regarding the circumstances in which a contract was written.
 6    Miller v. Glenn Miller Productions, 318 F. Supp. 2d 923, 934 (C.D. Cal. 2004).
 7          Post, however, offers no substantive evidence that construes the contract to mean
 8    anything other than its plain meaning. Post does not point to any extrinsic evidence to
 9    support the inferences he draws from the contract language. Post simply asserts that the
10    Contract does not grant Weisman publicity rights and that this is the correct interpretation.
11    Therefore, in looking at the plain language of the Contract, the court should find that
12    Weisman owns ALL of Sedgwick’s publicity rights.
13
14          B.     Cal. Civ. Code §3344.1 Prevents Post from Claiming That He Owns the
15                 Sedgwick Publicity Rights
16          California Civil Code Section §3344.1(b) provides that “[t]he rights recognized
17    under this section are property rights, freely transferable or descendible, in whole or in
18    part, by contract or by means of any trust or any other testamentary instrument…” Further,
19    “nothing in this section shall be construed to render invalid or unenforceable any contract
20    entered into by a deceased personality during his or her lifetime by which the deceased
21    personality assigned the rights, in whole or in part, to use his or her name, voice, signature,
22    photograph, or likeness…” Id.
23          Weisman’s claim that the Sedgwick publicity rights were transferred to him by
24    contract is further reinforced when taken together with Section 3344.1— publicity rights of
25    a deceased personality. The statute itself uses the phrase “commercial value at the time of
26    his or her death,” thus monetizing the publicity rights and rendering them a property right
27    with value that can be contracted away. At the time of contracting in December 1970, and
28    at the time of her death eleven months later, one hundred percent of Sedgwick’s

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 1    commercial value was attributable to the film Ciao! Manhattan. (Ex. J, p. 13:1-15:7, Ex.
 2    K, p. 1185:10-1186:11). Therefore, Weisman does not purport to own all publicity rights
 3    that could have existed had Sedgwick lived. Weisman only claims rights that existed by
 4    virtue of Sedgwick’s role in Ciao! Manhattan and continued commercial value that arose
 5    as a result of Weisman’s significant contribution to the development and promotion of the
 6    Sedgwick brand over the years stemming from the film. No commercial value exists in
 7    Sedgwick’s publicity rights that Weisman has not himself personally cultivated.
 8          Post argues that he is the sole successor in interest of Sedgwick’s right of publicity.
 9    Section 3344.1(d)(1) provides that, in certain specified circumstances, rights transfer to the
10    surviving spouse upon the personality’s death. This is not such a circumstance. Post
11    conveniently ignores that Section 3344.1(d)(1) also provides that in order for a surviving
12    spouse to be successor-in-interest, the deceased cannot have contracted away the publicity
13    rights during his or her lifetime. There is nothing in the statute that can render contractual
14    transfer of rights invalid. Because of the Contract, Sedgwick had already contracted away
15    the commercial value in her publicity rights and, therefore, no publicity rights were left to
16    be transferred to Post upon Sedgwick’s death. This is further supported by the fact that
17    publicity rights are conspicuously absent from the probate order which distributed
18    Sedgwick’s estate. (Ex. M). Given the explicit rules regarding contracts under Cal. Civ.
19    Code 3344.1, Weisman must be the rightful owner of the Sedgwick publicity rights.
20
21                                           V.   CONCLUSION
22          Because Sedgwick assigned all publicity rights in connection with Ciao! Manhattan
23    to Weisman and since Post has repeatedly testified that Sedgwick’s name, likeness, and
24    biography had no other commercial value upon her death besides Ciao! Manhattan, Post’s
25    claim to Sedgwick’s publicity rights fails outright. Cal. Civ. Code 3344.1 corroborates this
26    finding, explicitly stating that contract transfer of publicity rights in life supersedes any
27    inheritance of such rights in death.
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 1    Dated:      May 24, 2013                 GIRARDI | KEESE
 2
                                               By:   ____________________________
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